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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



 STATE OF NEW JERSEY, et al.

                                 Plaintiffs,
                                                                     No. 1:25-cv-10139
         v.

 DONALD J. TRUMP, et al.

                                 Defendants.



                         MOTION FOR ADMISSION PRO HAC VICE

        Pursuant to Local Rule 83.5.3, I, Gerard J. Cedrone, a member of the bar of this Court and

counsel of record for Plaintiff Commonwealth of Massachusetts, hereby move the admission pro hac

vice of the following attorneys, all to serve as counsel for Plaintiff State of California in this matter:

       Denise Levey, Deputy Attorney General, of the Office of the Attorney General for the State
        of California, 300 South Spring Street, Suite 1702, (213) 269-6269, a member of the bar
        of California;

       Delbert Tran, Deputy Attorney General, of the Office of the Attorney General for the
        State of California, 455 Golden Gate Ave., Suite 11000, San Francisco, CA 94102, (415)
        229-0110, a member of the bar of California;

       Irina Trasovan, Supervising Deputy Attorney General, of the Office of the Attorney
        General for the State of California, 300 South Spring Street, Suite 1702, (213) 269-6261,
        a member of the bar of California;

       Marissa Malouff, Supervising Deputy Attorney General, of the Office of the Attorney
        General for the State of California, 300 South Spring Street, Suite 1702, (213) 269-6467,
        a member of the bar of California;

       Lorraine Lopez, Deputy Attorney General, of the Office of the Attorney General for the
        State of California, 300 South Spring Street, Suite 1702, (213) 269-6616, a member of the
        bar of California; and

       Annabelle Wilmott, Deputy Attorney General, of the Office of the Attorney General for
        the State of California, 1300 I Street, Sacramento, California, 95814, (916) 210-7811, a
        member of the bar of California.
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       As set forth in the accompanying certification, the foregoing attorneys are (1) members in good

standing of the bars of every jurisdiction to which they have been admitted to practice, (2) are not the

subject of disciplinary proceedings pending in any jurisdictions in which they are members of the

bar, (3) have not previously had a pro hac vice admission to this Court (or other admission for a

limited purpose under Local Rule 83.5.3) revoked for misconduct, and (4) have read and agreed to

comply with the Local Rules of this District.

       WHEREFORE, this Court should admit Denise Levey pro hac vice to the bar of this Court.



 January 21, 2025                                   Respectfully submitted.

                                                    ANDREA JOY CAMPBELL
                                                     ATTORNEY GENERAL OF MASSACHUSETTS

                                                     /s/ Gerard J. Cedrone
                                                    Gerard J. Cedrone (BBO No. 699674)
                                                       Deputy State Solicitor
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                                                    Counsel for the Commonwealth of
                                                     Massachusetts




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